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 8
                           UNITED STATES DISTRICT COURT
 9
                          CENTRAL DISTRICT OF CALIFORNIA
10
      ANTHONY CORREA, an individual,                  Case No.: 8:20-cv-0806-CBM-(ADSx)
11

12                                 Plaintiff,         JUDGMENT [JS-6]
             vs.
13

14
      MERRICK GARLAND1, in his
15
      capacity as Attorney General, United
      States Department of Justice, and Does
16    1 through 20, inclusive
17                                Defendants.
18

19           Consistent with the Notice of Acceptance of Offer of Judgment (Dkt. No.
20    30), judgment is entered in favor of Plaintiff Anthony Correa, and against
21    Defendant Merrick Garland, in his capacity as Attorney General, United States
22    Department of Justice, in the amount of $50,000.
23

24
      Dated: October 27, 2021.
25                                                By: ____________________________
26          CC:FISCAL                                   Honorable Consuelo B. Marshall
                                                        United States District Judge
27

28    1
       Pursuant to Fed. R. Civ. P. 25(d), Attorney General Merrick Garland is substituted for William
      P. Barr.



                                                        1
                                                JUDGMENT
